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   IT IS ORDERED as set forth below:



   Date: December 18, 2020
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                               :              CHAPTER 7
                                                      :
 ANGELIA THACKER COGLEY,                              :              CASE NO. 18-64049-BEM
                                                      :
          Debtor.                                     :

         ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES

        On December 18, 2020, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate

of Angelia Thacker Cogley (“Trustee”), filed a motion for authority to pay administrative

expenses of the bankruptcy estate, seeking authority to pay $170.00 to the Georgia Department of

Revenue for State income taxes for calendar year 2020 [Doc. No. 52] (the “Motion”).

        In the Motion, Trustee shows that there are sufficient funds in this bankruptcy estate with

which to make the foregoing payments, and Trustee submits that such payments are proper as

administrative expenses of the bankruptcy estate.




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        The Court having considered the Motion and all other matters of record; and, the Court

having found that good cause exists to grant the relief requested in the Motion, it is hereby

        ORDERED that the Motion is granted and Trustee is authorized to pay $170.00 to the

Georgia Department of Revenue for state income taxes for tax year 2020.

                                    [END OF DOCUMENT]

Order prepared and presented by:


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Attorneys for Trustee

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Identification of parties to be served:

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